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     WAWD – Praecipe (Revised /2021)



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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
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11                                Plaintiff(s),              CASE NO.
                v.
12                                                           PRAECIPE
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14                                Defendant(s).
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16          To the Clerk of the above-entitled court:
            You will please:
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            Dated                                 Sign or use an “s/” and your name
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                                                  Name, Address, and Phone number of Counsel or Pro Se



     PRAECIPE - 1
